Case 2:O2-cv-O2635-SHI\/|-dkv Document 24 Filed 06/23/05 Page 1 of 2 Page|D 22

uNJ:TEn sTA'rEs DIsTRIcT coUR-r F"-EL-" -»>`r’ ..... ;')'.C.
wEsTERN nIsTRIcT oF TENNESSEE
wEsTERN D:cv::sIoN 95 JUN 23 PH J. tro

ROEEWTR.Di?RCUO
CLi:'F-`@E'(, U.S. DE:.'.ET'. ~`.ST.
W.D. OF TN, N`»i~¢v'si*HiS

LARR'Y LLO`Y'D,

Petitioner,

v. Cv. Case No. 02-2635-Ma

UNITED STATES OF AMERICA.,

Respondent.

ETEUDMIMUIBET

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this actidn is dismissed

without prejudice in accordance with the Order Denying Petition to
Vacate, Set Aside, or Correct Sentence, docketed June 13, 2005.

£//M/“/r`_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

;rahu"»z, 4¢.=$`
THGMSM.GOULD

(B%Z?BEPSEY cLEEK

This document emered on the docket sheet ' compliance ¢
with F\u$e 58 and/or 79(3) FRGP on 02 'd:_/g f § :>;

 

r`)'A'sTESDISTRCIT OURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:02-CV-02635 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Larry Lloyd

FMC-FORT WORTH

027 87- 1 96

3150 Horton Road

Fort Worth, TX 76119--599

.1. Charles Wilson
P.O. BOX 9974
Mobile, AL 36691

Honorable Samuel Mays
US DISTRICT COURT

